                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                               5:07CV78-1-V
                                5:01CR05-V



                                            )
TROY POWELL,                                )
                                            )
                           Petitioner,      )
               Vs.                          )                  ORDER
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                           Respondent.      )
                                            )


      THIS MATTER is before this Court upon Petitioner’s Motion to Amend, filed June

25, 2007.

      On March 13, 2001, Petitioner was one of twenty-four defendants charged with

conspiracy to possess with intent to distribute cocaine base in violation of 21 U.S.C. §§

841(a)(1) and 846. On March 14, 2002, after a trial by jury, Petitioner was found guilty as

to Count One of the Bill of Indictment. On March 7, 2003, this Court sentenced Petitioner

to 240 months imprisonment. Petitioner directly appealed his sentence and conviction to

the United States Court of Appeals for the Fourth Circuit.        On February 6, 2004,

Petitioner’s sentence and conviction were affirmed. On September 24, 2004, Petitioner

filed a Motion to Vacate, Set Aside, or Correct Sentence which was dismissed on

December 12, 2004. On December 5, 2005, the Fourth Circuit affirmed the denial of

Petitioner’s Motion to Vacate.




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       Petitioner has now filed a document in which he is, among other things,1 asking this

Court to allow him to add claims to his original Motion to Vacate. Petitioner’s 2004 Motion

to Vacate has been reviewed and dismissed and the dismissal has been affirmed on

appeal. Petitioner’s new claims are in essence a second motion to vacate2 and will be

treated as such.3 However, under AEDPA “a second or successive motion must be

certified . . . by a panel of the appropriate court of appeals. . ." 28 U.S.C. § 2255 (1997).

Therefore, because Petitioner has already filed a motion to vacate with this Court

(5:04CV154-1-V), Petitioner must first certify his motion with the Fourth Circuit Court of

Appeals before he can file his successive motion in the District Court.




       1
        The Court notes that Petitioner also references amending his certificate of
appealability. As stated in this Order, the Fourth Circuit has dismissed Petitioner’s
appeal. There is no pending certificate of appealability to amend.
       2
          In United States v. Winestock, 340 F.3d 200 (4th Cir.), cert. denied, 124 S. Ct.
496 (2003), the United States Court of Appeals for the Fourth Circuit held that “district
courts must treat Rule 60(b) motions as successive collateral review applications when
failing to do so would allow the applicant to ‘evade the bar against relitigation of claims
presented in a prior application or the bar against litigation of claims not presented in a
prior application.’” Id. at 206. The Fourth Circuit went on to state that a motion directly
attacking the prisoner’s conviction or sentence will usually amount to a successive
application. Id. at 207.
       3
         This Court finds that the Court of Appeals for the Fourth Circuit’s decision in
United States v. Emmanuel, 288 F.3d 644 (4th Cir. 2002), is distinguishable because,
unlike in the Emmanuel case, this would not be Petitioner’s first § 2255 motion. Id. at
650 (no notice required where recharacterization has no adverse impact on movant).


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      THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Amend which

is construed as a Motion to Vacate, Set Aside, or Correct Sentence is DISMISSED without

prejudice as successive.



                                          Signed: July 12, 2007




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